Case 5:11-mj-70344-HRL Document1 Filed 04/01/ 8
AQ 91 (Rev.5/85) - Criminal Complaint I E-FHING

 

 

NORTHERN DISTRICT OF CALIFORNIA
JOA RP
UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT &F/
ROBERTO PEREZ-ARMENTA CLEP

 

_ CASE NUMBE

(Name and Address of Defendant) 7 J = ” O & 4 4 ti R L.

I, the undersigned complainant being duly sworn state the following is true and correct to the best of
my knowledge and belief. On or after February 27, 2011 in Santa Clara County _, in the
Northern District of California defendant(s) did,¢rrack statutory Language of Offense)

travel! in interstate commerce from the State of California with the intent to avoid prosecution for one count of
the violation of California Penal Code Section, 187, murder, under the laws of the State of California.

in violation of Title 18 United States Code, Section(s) 1073

 

I further state that Iam a(n) __ Special Agent, FBI and that this complaint is based on the
following facts: Official Title
SEE ATTACHED AFFIDAVIT.

PENALTIES: A maximum term of five (5) years imprisonment; a $250,000 fine; a
maximum term of three (3) years of supervised release; and a $100 penalty assessment.

REQUESTE Mic Detain without bail.

hay ——

_ paiist n Danner, Assistant United States Attorney

Approved as to form:

Continued on the a sheet and made a part hereof: H Yes 0 No

 

igngture of Complainant
Sworn to before me and subscribed in my presence, O’Brien
Special Agent, FBI

Yi ly at San loss, C Calin

Date t City and
Howard R. Lloyd
United States Magistrate Judge

Name & Title of Judicial Officer Sena Judicig_ Officer /
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STATE AND NORTHERN DISTRICT OF CALIFORNIA )
) ss. AFFIDAVIT
CITY OF SAN JOSE, COUNTY OF SANTA CLARA )

I, John O’Brien, Special Agent of the Federal Bureau
of Investigation (FBI), being duly sworn, state:

1. I ama Special Agent of the FBI and have been so
employed since September of 1996. While acting in that
capacity I received information from Deputy District Attorney
Brian Welch of the Santa Clara County District Attorney's
Office, San Jose, California, who advised that on March 11,
2011, a no-bail arrest warrant was issued for the arrest of
Roberto Perez-Armenta, date of birth December 19, 1989, a
Mexican National. This warrant was issued by the Superior
Court of the County of Santa Clara, State of California, docket
number CC1102314, charging Perez-Armenta with violation of
California Penal Code, Section 187, murder. A certified copy
of the warrant is attached hereto and specially incorporated
herein as Exhibit A. All of the information contained in
paragraphs two and three was obtained through the investigation
of law enforcement officers of the Santa Clara Police
Department, Santa Clara, California.

2. During the early morning hours of February 27,
2011, Roberto, Emiliano Perez, who is Roberto's uncle, and
Alfonso Barcenas Castillo were drinking beer and partying
outside of the apartment address of 2249 Monroe Street, Santa
Clara, California. After a period of time and consumption of
alcohol, Roberto and Castillo became embroiled in a physical
fight. Emiliano attempted to intervene but he was too late.
At approximately 4:30 A.M., Roberto called his mother and told
her had stabbed someone and needed to flee the area. At
approximately 5:00 A.M., Emiliano went home and told his
girlfriend about the fight. He then took some clothes and said
was leaving the area. Around 7:00 A.M., a jogger found
Castillo's body, laying motionless on front lawn area of the
apartment complex across the street from the 2249 Monroe Street
address. A blood trail linked the two spots. Fire and rescue
personnel pronounced Castillo dead on the scene. A. subsequent
autopsy noted that Castillo died of fourteen stab wounds, with
the fatal wounds occurring in the victim's neck area.

3. Later that day, Roberto cailed his mother and
said he was taking a bus to Mexico. Four days later, Emiliano
called a Spanish speaking Santa Clara Police Department
Detective and said he was in Mexico. During that phone call,
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Emiliano talked about the fight and stated he fled because he
was scared. Emiliano said he took a bus to Mexico but his
telephone calling card expired before the Detective could ask
if Emiliano and Roberto had traveled to Mexico together. Blood
evidence was found in Roberto's vehicle but none in Emilano's,
which also indicates that Roberto, not Emiliano, murdered
Castillo. Additional follow up investigation by Santa Clara
Police Department Detectives allege that Roberto's mother has
shielded information, is assisting her son and that he is
staying with her relatives in a small town in Mexico.

4. The Santa Clara County District Attorney's
Office, San Jose, California, by letter dated March 11, 2011,
has formally requested the assistance of the Federal Bureau of
Investigation and the United States Attorney’s Office in
locating and arresting Roberto Perez-Armenta for violation of
California Penal Code, Section 187, murder. In that letter, a
true and correct copy of which is attached hereto and
specifically incorporated herein as Exhibit B, the Santa Clara
County District Attorney's Office represents that it will
extradite Roberto Perez-Armenta from any location in the United
States and from any country where he may be found which has an
extradition treaty with the United States.

5, It is my belief that there is probable cause to
believe that Roberto Perez-Armenta has fled the State of
California to avoid arrest and prosecution for violation of
California Penal Code, Section 187, murder, in violation of
Title 18, United States Code, Section 1073.

Jénn/O’ Brien, Special Agent.
Fédéral Bureau of Investigation

SWORN OOF SUBSCRIBED TO BEFORE ME

THIS D OF # f 2011

     

 

The Honora te owe Lloyd
United Staqyesg Mag#strate Judge
 

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ARREST WARRANT

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA

| CEN: 11506606

 

 

SERVICE AGENCY: O47314

 

THE PEOPLE OF THE STATE OF CALIFORNIA, |
| DOCKET NO: CLLIOZB14
PLAINTIFF, i DRIVER'S LIC NO: CAX7843238
AGENCY CASE NO: 112170
VS 1 FINGERPRINTS NEEDED
i DESCRIPTION
ROBERTO PEREZ ARMENTA r
| BIRTHDATE: 12/19/1989
S144 CADILLAC DR HEIGHT: 308 WEIGHT: 146
AFT. 3 | HAIR: BR EYES: BR SEX:
SAN JCSE ca ! REMARKS:
: RACE: HISPANIC
DEFENDANT

 

THE PEOPLE OF THE STATE OF CALIFORNIA TO ANY PEACE OFFICER OF SAID STATE:
COMPLAINT UNDER OATH HAVING BEEN MADE BEFORE ME BY:

GLi61O GILBERT SANTA CLARA FOLICE DEPARTMENT
THAT THE OFFENSE OF:

(Fa POTS? PR:
A FELONY HAS BEEN COMMITTED, AND ACCUSING:

ROBERTO PEREZ ARMENTA THEREOF,

YOU ARE THEREFORE COMMANDED TO ARREST THE ABOVE NAMED DEFENDANT AND BRING SAID
DEFENDANT FORTHWITH BEFORE THE ENTITLED COURT.

THIS FELONY WARRANT MAY BE SERVED AT NIGHT PURSUANT TO SEC 840 PC.

DEFENDANT MAY BE ADMITTED TO BAIL IN THE SUM OF $ NV. D .

 
  
 
  
   

 

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WITNESS MY HAND AND SEAL, / foe oN
Beal JUDGE GF THE SUPERIOR COURT
DATE: 8/11/2011 ves
HALL. OF JMET DC: Lae 3 i “ GILBERT, BROWN
190 WEST HEDDING STREP. = “<2 "| COURT: APPEARANCE TIMES AND DATES

POF :004 MONDAY THRU FRIDAY MESD
a A O98 30 MONDAY THRY FRIDAY FEL
Z 14200 MONDAY THRU FRIDAY FEL

SAN JOSE, CA FRILO
SUPERTOR COURT %
MALLING ADDRESS To¢

fl WN, FIRST S
SAN JOSE, CA

ARREST WARRANT
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County of Santa Clara
Office of the District Attorney

County Government Center, West Wing
70 West Hedding Street

San Jose, California 95110

(408) 299-7400

www. santaclara-da.org

 

 

Jeffrey F. Rosen
District Attorney

March 11, 2011

Mr. Jeff Nedrow, Chief AUSA

OFFICE OF THE UNITED STATES ATTORNEY
Northern District of California

150 Almaden Blvd., Suite 900

San Jose, California 95113

Re: People v. Roberto Perez Armenta, Santa Clara County Superior Court Docket
Number C1102314

Dear Mr. Nedrow:

I am writing to ask your assistance in bringing Roberto Perez Armenta to justice in Santa
Clara County, California for the murder of Alfonso Barcenas Castillo on February 27,
2011.

At approximately 7 a.m. on February 27, 2011, a jogger discovered Mr. Castillo’s body
on the ground in front of the Old Orchard Apartments, located at 2200 Monroe Street,
Santa Clara, California. Castillo had multiple stab wounds to his neck and stomach and
was pronounced dead at the scene by the Santa Clara Fire Department.

At approximately 1 a.m. on February 27, 2011, Isaias Gonzales, a friend of the victim,

- briefly visited with him in one of the garages of an apartment complex at 2249 Monroe
Street. Gonzalez recognized suspect Roberto Perez Armenta, Emiliano Perez, and Jose
Perez also inside the garage. Jose Perez is Roberto Perez Armenta’s father. Roberto
Perez Armenta walked out of the garage towards Gonzalez and started an argument,
trying to get into a fight. Gonzalez stepped back and walked into his apartment.

At about 1:50 a.m., Roberto Perez Armenta drove his vehicle to a nearby 7-Eleven with
Emiliano, Jose and the victim, where they purchased beer. The group then returned to
2249 Monroe Street and Jose Perez went to his apartment. Emiliano, Roberto and the
victim remained outside drinking beer.

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After an unknown period of time, Emiliano was in his vehicle in front of 2249 Monroe
Street listening to music when he noticed a fight between Roberto and the victim.
Emiliano tried to break up the fight but was unable to. Emiliano then saw Roberto
holding a knife with blood on it and believed Roberto had just stabbed the victim.
Emiliano returned to his vehicle and left the area. At approximately 5 a.m., Emiliano
entered his bedroom and told his girlfriend that Roberto got in a fight and stabbed
someone. Emiliano said he was leaving the area and gathered some of his clothes.

At approximately 4:30 a.m., Roberto Perez Armenta called his mother and told her he
had stabbed someone and was leaving. The defendant refused to provide any details.

Later that day investigators located Roberto Perez Armenta’s vehicle near his apartment
complex. Subsequent examination of the vehicle revealed a red smear on the driver’s
door post.

An autopsy of the victim revealed that he died from a vicious attack and sustained 14
separate stab and incised wounds. Additionally, the victim had defensive wounds to his
hands. The fatal injuries were to the neck.

Investigators believe Roberto Perez Armenta fled to Mexico and have provided you with
information about his whereabouts in that country.

On March 11, 2011, a felony complaint was filed in Santa Clara County Superior Court,
Docket Number C 1102314, charging Roberto Perez Armenta with murder, Penal Code
section 187, with personal use of a knife allegation under Penal Code section
12022(b)(1). A warrant for his arrest has been issued.

This office believes that a complaint filed in Federal Court charging the defendant with
Unlawful Flight to Avoid Prosecution pursuant to Title 18 United States Code Section
1073 will greatly aid in the apprehension and prosecution of this defendant for the murder
of Alfonso Barcenas Castillo.

This office will seek to extradite the defendant from any location in the United States and
from any country in which he may be found that has an extradition treaty with the United
States.

Please feel free to contact me at 408-792-2624 if you have any further questions or
concerns regarding this matter.

treerely,

. lu\edel
an M. Welch

Supervising Deputy District Attorney
